                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                        CIVIL ACTION NO.: 7:21-cv-00142-FL

THE COLONY CLUB AT LANDFALL
HOMEOWNERS’ ASSOCIATION, INC.,

                       Plaintiff,
                                                     ORDER GRANTING CONSENT
v.
                                                     MOTION TO EXTEND CERTAIN
                                                            DEADLINES
PALOMAR SPECIALTY INSURANCE
COMPANY,

                       Defendant.

      THIS COURT, having reviewed the Consent Motion to Extend Certain Deadlines,

all relevant pleadings of record, and for good cause shown, ORDERS as follows:

      The Motion is GRANTED. The Court orders that the remaining deadlines be

extended as follows:

      a.      All discovery shall be completed by July 29, 2022;

      b.      Mediation shall be completed by the discovery deadline, July 29, 2022, in

              compliance with Local Alternative Dispute Rule 101.1d(a);

      c.      Fed. R. Civ. P. 26(e) disclosures shall be served by July 19, 2022; and

      d.      Any motions to exclude expert testimony and any dispositive motions shall

              be filed by August 29, 2022.


This the 5th day of May, 2022.



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                                    LOUISE W. FLANAGAN
                                    United States District Judge



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